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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

IN RE:                                                    CASE NO: 05-13666-JAB

CLARK, PAUL S
CLARK, WANDA L

             Debtor(s)


                    TRUSTEE’S REPORT OF UNCLAIMED FUNDS

     COMES NOW, ALEXANDER G. SMITH, as Trustee of the above-captioned matter, and
respectfully states that, pursuant to the order of distribution, he has disbursed the entre amount in
the Trustee’s account, and all checks have cleared with the exception of the following:

Claim #                Check #        Claimant Name and Address                Amount
NA                     10113          Clark, Paul S                            $17,467.00
Surplus to Debtor                     Clark, Wanda L
                                      409 Ocean Marina Drive
                                      Flagler Beach, FL 32136

More than ninety (90) days have elapsed since the declaration and distribution of the final
dividend, and pursuant to 11 U.S.C. § 347 and Fed. R. Bankr. P. 3011, the Trustee shall provide
a check made payable to the U.S. Bankruptcy Court in the amount of $17,467.00 to the clerk for
deposit in the “unclaimed funds account” and states that the claimant(s) thereto are as listed
above.

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
to the U.S. Trustee, 801 North Florida Avenue, Tampa, FL 33602.

                                                      ALEXANDER G. SMITH P.A.


                                                      /S/ ALEXANDER G. SMITH
                                                      ALEXANDER G. SMITH
                                                      Chapter 7 Trustee
                                                      Fla. Bar ID #140323
                                                      2601 University Blvd. West
                                                      Jacksonville, FL 32217
                                                      (904) 733-3822
